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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :                 CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE; AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE     :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

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   PLAINTIFFS’ OPPOSTION TO CALEB MAST’S MOTION TO QUASH SUBPOENA

         Caleb Mast (“Mast”), who is the brother of Defendants Joshua and Richard Mast, moves

  to quash a subpoena served on someone else—Liberty University. ECF Nos. 196, 197. The motion

  seeks to allow Liberty University to withhold from its response to the subpoena a single email

  from Mast to an unidentified former Muslim and now Christian pastor (the “Pastor”) and the

  Pastor’s reply (the “Email”). Mast asserts that “disclosure” of the Email would “create a risk of
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  harm” to the Pastor, would violate Mast’s and the Pastor’s First Amendment “right to freedom of

  association,” and would “violate [their] rights under the Religious Freedom Restoration Act.” ECF

  No. 197 at 3.

         Mast’s motion should be denied, for several reasons.

         First, Liberty University has advised that it already produced the Email (and other

  documents) to Plaintiffs’ counsel in response to a subpoena in the state circuit court proceeding.

  See Exh. 1 (stating that Liberty University is producing in this matter communications “previously

  produced in the related state case (CL22000186-0) with the exception of one email with Caleb

  Mast which may be subject to the Motion to Quash”). Perhaps Mast was unaware of that

  inconvenient fact.

         Second, Mast seems to assume that mere production of the Email in discovery would

  somehow be unfettered “disclosure” to the world. Had Mast’s counsel reached out to counsel for

  Plaintiffs before filing his motion, he would have been assured that Plaintiffs would treat the email

  as “CONFIDENTIAL” per the protective order that Plaintiffs have asked the Court to approve.

  See Plaintiffs’ Motion, And Memorandum In Support Of Motion, For The Entry Of Proposed

  Protective Order (ECF No. 166). Indeed, that is how the Email has been treated in the circuit court

  litigation regarding the fraudulent (and now vacated) adoption order.

         Third, Mast also would have learned that Plaintiffs would have no objection to Liberty

  University redacting the Pastor’s name, provided there are no other redactions. Apparently, Mast

  appreciates the utility of redaction in these circumstances: “At the least, the email should be

  produced only in a redacted format to protect the pastor from being identified.” ECF No. 197 at 5.

  Why he did not ask Liberty University to raise this with Plaintiffs’ counsel is a mystery. In any




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  event, Plaintiffs remain willing to agree to these safeguards, so that should be the end of this

  tempest in a teapot.1

         Fourth, Mast should not be heard to speak on behalf of the Pastor. If the Pastor’s safety

  were to be genuinely at risk, one might have expected a sworn declaration from him (submitted

  under seal). Instead, all we have are Mast’s conclusory assertions that, for example, “the identity

  of the [P]astor . . . should not be disclosed to protect him from threat to his life.” ECF No. 197 at

  4.

         Finally, Mast’s motion should be denied for the additional reasons that neither the First

  Amendment nor the Religious Freedom Restoration Act (the “RFRA”) has any application here.

  Mast claims that the Pastor “is from a nation-state controlled by Muslim extremists,” and that

  disclosure of his identity “will create a risk to [him] for being associated in any way with an

  American couple of the Christian faith adopting an Afghan child born to a family of the Muslim

  faith.” Id. at 2.2 Later in his Memorandum, Mast asserts that the Email “explicitly identifies the

  congregation and ministry with which the pastor is associated.” Id. at 6. He goes on to argue that:

  “Forcing him to disclose communications that he has had with his (former) pastor would

  necessarily require disclosure [of] the nature of the[ir] association and activities associated with

  the pastor and his congregation/ministry.” Id. (emphasis added). And that it would “substantially

  burden [Mast’s] exercise of religion.” Id. at 8. As noted, the subpoena does not force Mast to

  disclose anything. More to the point, as also noted, production in discovery is hardly the same as

  disclosure on the Internet. In any event, Plaintiffs’ agreement that Liberty University may redact



         1
            Mast also asserts, without elaboration, that the Email “is irrelevant to any claim or
  defense in this action.” ECF No. 197 at 5.
         2
           Plaintiffs were pleasantly surprised to read that at least one Mast admits that Baby Doe
  is Afghan and not a “stateless minor.”
                                                   3
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  the Pastor’s name and that they will treat the Email as “CONFIDENTIAL” obviates any First

  Amendment or RFRA concerns, however fanciful they may be.

         Accordingly, Mast’s motion should be denied.


  Date: April 11, 2023                             Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 11th day of April 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.




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